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Case: 5:21−bk−00508−PMM                          Form ID: 318                       Total: 37


Recipients of Notice of Electronic Filing:
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
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cr          Ally Bank, c/o AIS Portfolio Services, LP         4515 N Santa Fe Ave. Dept. APS           Oklahoma City, OK 73118
cr          NewRez LLC d/b/a Shellpoint Mortgage Servicing             Robertson, Anschutz, Schneid, Crane & Pa           6409
            Congress Ave., Suite 100         Boca Raton, FL 33487
5396390     Ally Bank        AIS Portfolio Services, LP         4515 N Santa Fe Ave. Dept. APS           Oklahoma City, OK
            73118
5395729     Ally Financial       PO Box 380901            Bloomington, MN 55438
5395730     Amex Department Stores           PO Box 8218          Mason, OH 45040
5395731     Capital One Bank USA NA             P.O. Box 31293         Salt Lake City, UT 84131
5395732     Certified Credit & Collection         P.O. Box 1750        Whitehouse Station, NJ 08889
5395733     CitiCards CBNA          5800 South Corporate Place           Sioux Falls, SD 57108
5395734     Comenity Capital Bank/Ulta           P.O. Box 182120          Columbus, OH 43218
5395735     DSNB/Macys           P.O. Box 8218          Mason, OH 45050
5395736     Emergency Services PC           Box 319         Scranton, PA 18512−0319
5395737     Financial Recoveries         P.O. Box 1388         Mount Laurel, NJ 08054−7388
5395738     Geisinger Community Med Ctr             1800 Mulberry Street        Scranton, PA 18510
5395739     KML Law Group, P.C.            Ste 5000 − BNY Independence Center            701 Market St         Philadelphia, PA
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5395740     LVNV Funding LLC             c/o Resurgent Capital Svs         P.O. Box 1269         Greenville, SC 29603
5422853     NewRez LLC d/b/a Shellpoint Mortgage Servicing             Robertson, Anschutz, Schneid, Crane & Pa           6409
            Congress Ave., Suite 100         Boca Raton, FL 33487
5395741     Newton Medical Center           175 High St, Newton         Newton, NJ 07860
5395742     Pequot LLC         3019 N. Orgonne Road            Spokane, WA 99212
5395744     SYNCB/Amazon             P.O. Box 965015          Orlando, FL 32896−5015
5395745     SYNCB/EBAY             p.o. bOX O965013           Orlando, FL 32896
5395747     SYNCB/PPC           PO Box 965005            Orlando, FL 32896
5395746     SYNCB/Paypay Credit Card             P.O. Box 965005          Orlando, FL 32896−5005
5395748     SYNCB/SAMS             PO Box 965005           Orlando, FL 32896
5395749     SYNCB/TJX CO PLCC               PO Box 965015          Orlando, FL 32896
5395743     Shellpoint Mortgage Svc          55 Beattie Place       Suite 600         Greenville, SC 29601
5395750     Synchrony Bank/Walmart            PO Box 965024           Orlando, FL 32896
5395751     TD Bank USA/Target Credit            NCD−0240          P.O. Box 1470          Minneapolis, MN 55440
5395752     The Home Depot/CBNA              5800 South Corporate Place          Sioux Falls, SD 57108
5395753     Toyota Motor Credit Corp          5005 N River Blvd NE           Cedar Rapids, IA 52411−6634
5395754     Vacation Village at Parkway          2975 Arabian Nights Blvd,          Kissimmee, FL 34747
5395755     Wayne Memorial Hospital           601 Park Street        Honesdale, PA 18431
                                                                                                                      TOTAL: 33




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